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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 DISTRICT OF COLUMBIA,

                                 Plaintiff,
                                                      Civil Action No. 21-cv-03267-APM
                        v.

 PROUD BOYS INTERNATIONAL,
 L.L.C., et al.,

                                 Defendants.



                                 MILITARY AFFIDAVIT
                        (Certificate in Compliance With Soldiers and Sailors
                       Civil Relief Act of 1940, AS Amended in 1942 & 1960
                        Title 50, Appendix, Section 520, United States Code)

       I hereby certify under penalty of perjury, this 2nd of July, 2024, that I am the

authorized agent for the Plaintiff in the above-entitled case and make this certificate on

Plaintiff’s behalf regarding Defendants NICHOLAS DECARLO, CHRISTOPHER

WORRELL, and GRAYDON YOUNG.

       I make this certificate pursuant to the provisions of the Soldiers and Sailors Civil

Act of 1940 and the provisions of the Soldiers and Sailors Civil Relief Act Amendments

of 1942 and 1960; that on behalf of the Plaintiff, I have caused careful investigation to be

made to ascertain whether or not the above-named defendant are in the military service of

the United States or its Allies and that as a result of said investigation, I have discovered

and do hereby allege that said Defendants are not in the military service of the United

States or its Allies, that is to say said Defendants are not members of the Army of the

United States, the United States Navy, the Marine Corps, nor the Coast Guard and are not
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officers of the public Health Service detailed by proper authority for duty either with the

Army or Navy, and said Defendants are not on active duty with any branches aforesaid,

nor are said Defendants under training or education under the supervision of the United

States preliminary to induction into the military services; and the Defendants are not

serving with the forces of any nation with which the United States is allied in the

prosecution of any war, nor have said Defendants been ordered to report for induction

under the Selective Training and Service Act of 1940, as amended, nor are the

Defendants members of the Enlisted Reserve Corps ordered to report for military service,

but are incarcerated or detained as a civilians.



Dated: July 2, 2024                            By:    /s/ Jeannie S. Rhee
                                               Jeannie S. Rhee (D.C. Bar 464127)
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                                               Attorney for Plaintiff District of Columbia
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                             CERTIFICATE OF SERVICE

        I hereby certify that, on July 2, 2024, I caused the foregoing Military Affidavit to
be electronically filed using the Court’s CM/ECF system, and service was effected
electronically pursuant to Local Rule 5.4(d) to all counsel of record. Remaining
defendants have been served via first class mail.




                                                    /s/ Jeannie S. Rhee

                                                    Jeannie S. Rhee
